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         EXHIBIT 56
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Our commitments
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Rules and policies




Copyright

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            •   Fair Use
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  The first rule of copyright

  Creators should only upload videos that they have made or that they're authorized to use. That means they should not
  upload videos they didn't make, or use content in their videos that someone else owns the copyright to, such as music
  tracks, snippets of copyrighted programs, or videos made by other users, without necessary authorizations.

  What is Fair Use?

  Fair Use is a U.S. law that allows the reuse of copyright-protected material under certain circumstances without getting
  permission from the copyright owner. However, Fair Use is determined on a case by case basis, and different countries
  have different rules about when it's okay to use material without the copyright owner's permission. In the U.S., works of

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commentary, criticism,    3:20-cv-04423-JD
                       research,                Document
                                 teaching, or news reporting 248-16    Filed 02/13/23
                                                             might be considered fair use,Page
                                                                                           but it 3can
                                                                                                     ofdepend
                                                                                                        5     on the
situation.

We created the YouTube /\udio Librarv to help Creators re-use content safely by providing free high-quality music and
sound effects.

Resources


      • Learn more about Fair Use

How can rights holders make copyright claims?

Everyone has access to Y ouTube' s Copyright Management Tools, which gives rights holders control of their copyrighted
material on Y ouTube. We work with rights holders to match them to appropriate features based on the scale of their
copyrighted content on YouTube, and the resources they've dedicated to responsibly manage their content online. Our
Copyright Management Suite provides a number of ways rights holders can make copyright claims.

Webform


The simplest way to have unauthorized copies of copyrighted content removed is by manually submitting a copyright
notification through our DMCA Di rital Millennium Co _yright ;\ct) webform. This tool is best for most users - it is open
to everyone, and available in every language.

Copyright Match Tool


The Cop right Match Tool uses the power of Content ID matching technology to find re-uploads of videos on YouTube.
Available to over 1,000,000 channels, it identifies near-full reuploads of a Creator's original videos on other Y ouTube
channels and allows the Creator to choose an action to take: they can request the removal of the video, message the
up loader of the video, or simply archive the match if they do not want to take any action. Any user with a demonstrated
history of successful DMCA takedowns via our webform can apply for access using our public form.

Content ID


Content lD is our solution for those with the most complex rights management needs. It is our digital fingerprinting system
that allows rightholders to upload content they have exclusive rights to as reference files, and then scans videos uploaded
to Y ouTube for matches of that content. When a user uploads content, Content ID scans against the database for matching
videos. If there is a match, then an action is taken based on the predefined rules or policies that a content owner sets
themselves:

     • Block a whole video from being viewed. Creators do not receive a copyright strike if the content owner blocks a
     video.
     • Monetize the video by running ads against it; in some cases sharing revenue with the uploader.
     • Track the video's viewership statistics.


In most cases, this means that rights holders don't need to submit copyright takedowns for these videos and instead have
the opportunity to monetize and run ads in exchange for the videos being live.

Resources


      • Learn more about YouTubc's Copy ight Management Tools
      • Learn more about eopvright strike

What action does YouTube take for copyright infringement?

If a copyright owner submits a valid DMCA complaint through our webform, we take down that video and apply a

                                                                                                       GOOG-SCHNDR-00050095
copyright strike. IfCase
                     a user3:20-cv-04423-JD       Document
                            gets three copyright strikes        248-16
                                                         in 90 days, their Filed 02/13/23
                                                                           account,          Page
                                                                                    along with     4 of 5
                                                                                               any associated channels, will
be terminated. We also have tools to help Creators resolve their copyright strikes - including waiting for it to expire after
90 days, requesting a retraction, or submitting a counter notification.

Conient ID works differently. If a match between a reference file and a new upload is made, a "claim" is made. Based on
the preference selected by the Content ID owner, we '11 apply a policy to track, monetize, or block, but will not issue a
copyright strike.

Resources


      • Learn more about co vri •ht strike
      • Retract a claim of' co :ri 1 ht infrinnement
      • Submit a counter notification

Related articles
      • Community Guidelines
      Read more
      • Safeguarding copyright
      Read more
      • Monetization policies
      Read more


Connect

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      • For Business



      • For Creators

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      • Our Commitments

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